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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

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v" §
ga §§ 92
TERRY MATTHEWS, MIKE vANCE ) GS;§‘; 5`
and RoBERT JAGGERS, ) <'?\<n’_;nw
) § ’*?$@ § 0
Plaintiffs, ) if 'Q'é ‘8 'C’
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) "€?>-/`% 0
) 929
vs. ) No. 03-1210-T/An
)
)
MCNAIRY CoUNTY, TENNESSEE and )
TOMMY RILEY, in his Offlcial Capacity )
as Sheriff of McNairy County and )
Individually, )
)
Defendants. )

 

ORDER GRANTING MOTION TO EXTEND TIME TO RESPOND

 

The defendants, McNairy County, Tennessee, and McNairy County Sheriff'l`ommy
Riley, filed a motion for summary judgment on March 14, 2005. Local Rule 7.2(a)(2)
provides that a response to a motion for summary judgment must be filed Within 30 days.
Therefore, plaintiffs’ response Was due on or before April 18, 2005. §§ Fed. R. Civ. P. 6(a)
& (e). On that date, plaintiffs filed a motion to extend the time to respond. The certificate
of consultation accompanying the motion indicated the opposing counsel did not agree to

the extension

This document entered on the docket sheet in compliance
with nine 53 and;or 79 (a} FacP on 5

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Plaintiffs submitted a response to the motion for summary judgment on May 2, 2005,
prior to any ruling on their motion for an extension oftime. Nevertheless, as the defendants
have filed no obj ection, the plaintiffs’ motion to extend the time to respond is GRANTED;
therefore, the Court will consider plaintiffs’ May 2 response to the motion for summary
judgment

IT IS SO ORDERED.

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JAME . TODD
UNIT STATES DISTRICT JUDGE

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DATE d '

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This notice confirms a copy of` the document docketed as number 49 in
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ESSEE

 

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Honorable J ames Todd
US DISTRICT COURT

